          Case 4:05-cr-40037-FDS Document 378 Filed 04/15/11 Page 1 of 4




                          UNITED STATES DISTRICT COURT
                           DISTRICT OF MASSACHUSETTS



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UNITED STATES OF AMERICA,                           )
                                                    )
                                                    )
                                                    )
vs.                                                 )        CIVIL ACTION
                                                    )        NO. 05-40037-FDS
                                                    )
BOULA LONA SISOMPENG,                               )
               Defendant                            )
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                           ORDER RE: APPOINTMENT OF COUNSEL
                                       April 15, 2011


HILLMAN, M.J.


                                         Nature of the Proceeding

        By Order of Reference dated December 30, 2010, this matter has been referred to me for

a determination of whether counsel should be appointed for the Defendant, Boula Lona

Sisompeng ("Sisompeng"), in connection with his Motion For Reduction OfSentence in Light Of

The November 1'" 2010 Amendments To The us.s.o. (Docket No. 371Y.

                                                 Background

        On January 31, 2007, Sisompeng pled guilty to Conspiracy to Possess With Intent to

Distribute and Distribution of 3,4 Methylenedioxyamphetamine (MDA) and 3,4



         IOn February 16,2011, Sisompeng filed a Motion For Reduction O/Sentence Under Fair
Sentencing-20l0 (Docket No. 375) in which he asserted additional bases for seeking reduction of his sentence.
Hereafter, I will refer to the motions ,collectively, as the "Motion/or Reduction a/Sentence".
           Case 4:05-cr-40037-FDS Document 378 Filed 04/15/11 Page 2 of 4




Methylenedioxymethamphetamine (MDMA) a/k/a Ecstasy. On May 21,2007, Sisompeng was

sentenced to 108 months incarceration and three years supervised release. On April 14, 2001,

Sisompeng filed a Motionfor Sentence Adjustment (Docket No. 360), in which he asserted that

due to his status as a resident alien, he was subject to harsh collateral consequences, i.e., he is

ineligible for placement in a halfway house as he nears the end of his sentence. He argued that

the Court should, therefore, use its discretionary powers to reduce his sentence. The motion was

denied. See Order on Defendant's Motion For Sentence Adjustment (Docket No. 362).2

        On August 3, 2010, the Fair Sentencing Act, Pub. L No. 111-220 ("FSA"), was signed

into law. The FSA reduced the statutory penalties for crack cocaine trafficking and eliminated

the mandatory minimum sentence for simple possession of crack cocaine. On April 6, 2011, the

U.S. Sentencing Commission promulgated a permanent amendment to the Federal Sentencing

Guidelines implementing the provisions of the Act; the amendment will have an effective date of

November 1, 2011. However, the U.S. Sentencing Commission has yet to determine whether the

amendment should apply retroactively.

                                                    Discussion

         Sisompeng has filed a motion for reduction of his sentence, pursuant to 18 U.S.C.

§3582(c)(2). Sisompeng asserts that the Act eliminated mandatory minimum sentences in

applicable cases and that in order to achieve "consistency" within the Act, he should be eligible

for a reduction in sentence. Sisompeng further asserts that the 2010 Federal Sentencing



        2Judge Saylor held that the Court was without power to modify Sisompeng's sentence, citing 18 U.S.c. §
3582(c). Furthermore, to the extent that Sisompeng was asserting a constitutional claim, Judge Saylor held that the
Court could not sua sponte unilaterally recharacterize his motion as a petition pursuant to 28 U.S.C. §2255, which, in
any event, would likely be time barred. See Order on Defendant's Motion For Sentence Adjustment (Docket No.
362). Sisompeng did not re-file his motion as a petition under Section 2255.

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            Case 4:05-cr-40037-FDS Document 378 Filed 04/15/11 Page 3 of 4




Guidelines provided a greater range of sentencing options, specifically, downward variances

relating to age, drug abuse, mental condition, emotional circumstances, education and profession,

military service and cultural assimilation, which, if applied in his case, would result in a lower

sentence. Finally, Sisompeng asserts that recent amendments to the sentencing guidelines would

somehow favorably effect his sentence to the extent that the Government, presumably the Bureau

of Prisons, has violated his plea agreement by placing him in a facility which is more than 500

miles from his home, refused to provide him access to a drug and alcohol program and subjected

him to harsher and more severe confinement due to his alien status. See Motion For Reduction of

Sentence.

       All of the Circuit Courts of Appeal that have addressed the issue have held that there is

no statutory or constitutional right to counsel in a Section 3582(c)(2) proceeding. See; United

States v. Harris, 568 F.3d 666 (8 th Cir. 2009); United States v. Webb, 565 F.3d789 (11 th Cir.

2009). However, courts retain the discretion to appoint counsel and at least one Circuit Court has

suggested that given the increasing complexity of issues raised under Section 3582(c), there are

cases in which appointing counsel would be appropriate, in the interest ofjustice. See United

States v. Robinson, 542 F.3d 1045, 1052 (5 th Cir. 2008). For the reasons set forth below, I find

that the interest ofjustice do not require appointment of counsel in this case.

        First, Sisompeng was convicted of conspiracy to possess with intent to distribute and

distribution of ecstacy-- the Act and the implementing amendment to the guidelines deal solely

with sentencing disparity between cocaine powder and cocaine base. In other words, the Act




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          Case 4:05-cr-40037-FDS Document 378 Filed 04/15/11 Page 4 of 4




does not change the sentencing range for crimes involving drugs other than crack cocaine. 3

Second, the recent amendments to the guidelines cited by Sisompeng dealing with downward

variances do not apply retroactively. Lastly, to the extent that Sisompeng is asserting that his

plea agreement is being violated and he is being treated more harshly because he is a resident

alien, his remedy, ifthere is one available, would not pursuant to Section 3582(c). Under these

circumstances, I find that Sisompeng is not entitled to appointment of counsel.

                                                  Conclusion

        This matter has been referred to me for a determination of whether counsel should be

appointed to represent Boula Lona Sisompeng in this matter. I find that Boula Lona Sisompeng

is not entitled to appointed counsel.




                                                     lsI Timothy S. Hillman
                                                     TIMOTHY S. HILLMAN
                                                     MAGISTRATE JUDGE




         3Even if it did, the U.S. Sentencing Commission has not detennined that the guideline changes should be
applied retroactively, and therefore, Sisompeng's motion would be premature.

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